UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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 SHIVA STEIN,                                             :
                                                          :
                   Plaintiff,                             : Case No. 1:22-cv-6648
                                                          :
 v.                                                       :
                                                          : COMPLAINT FOR VIOLATIONS OF
 AUTOWEB, INC., MICHAEL J. FUCHS,                         : SECTIONS 14(e), 14(d) AND 20(a) OF
 MATÍAS DE TEZANOS, MARK N.                               : THE SECURITIES EXCHANGE ACT
 KAPLAN, JARED R. ROWE, JANET M.                          : OF 1934
 THOMPSON, and JOSÉ VARGAS,                               :
                                                          : JURY TRIAL DEMANDED
                   Defendants.                            :
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         Shiva Stein (“Plaintiff”), by and through his attorneys, alleges the following upon

information and belief, including investigation of counsel and review of publicly-available

information, except as to those allegations pertaining to Plaintiff, which are alleged upon personal

knowledge:

        1.       This is an action brought by Plaintiff against AutoWeb Therapeutics, Inc.

(“AutoWeb or the “Company”) and the members AutoWeb board of directors (the “Board” or the

“Individual Defendants” and collectively with the Company, the “Defendants”) for their violations

of Sections 14(e), 14(d), and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”),

in connection with the proposed acquisition of AutoWeb by affiliates of One Planet Group , LLC

(“One Planet Group”).

        2.       Defendants have violated the above-referenced Sections of the Exchange Act by

causing a materially incomplete and misleading Solicitation Statement on Schedule 14D-9 (the

“Solicitation Statement”) to be filed on August 3, 2022 with the United States Securities and
Exchange Commission (“SEC”) and disseminated to Company stockholders. The Solicitation

Statement recommends that Company stockholders tender their shares in support of a proposed

transaction whereby Unity AC 2, Inc. (“Merger Sub”), a wholly owned subsidiary of Unity AC 1,

LLC (“Parent”), will merge with and into AutoWeb, with AutoWeb continuing as the surviving

corporation and as a wholly owned subsidiary of Parent (the “Proposed Transaction”). Pursuant

to the terms of the definitive agreement and plan of merger the companies entered into, dated July

24, 2022 (the “Merger Agreement”), each AutoWeb common share issued and outstanding will be

converted into the right to receive $0.39 per share owned (the “Merger Consideration”). In

accordance with the Merger Agreement, Merger Sub commenced a tender offer to acquire all of

AutoWeb’s outstanding common stock and will expire on August 30, 2022 (the “Tender Offer”).

Merger Sub and Parent are each affiliated with One Planet Group.

       3.      Defendants have now asked AutoWeb’s stockholders to support the Proposed

Transaction based upon the materially incomplete and misleading representations and information

contained in the Solicitation Statement, in violation of Sections 14(e), 14(d), and 20(a) of the

Exchange Act.     Specifically, the Solicitation Statement contains materially incomplete and

misleading information concerning, among other things, (i) AutoWeb’s financial projections relied

upon by the Company’s financial advisor, Houlihan Lokey Capital, Inc. (“Houlihan Lokey”); and

(ii) the data and inputs underlying the financial valuation analyses that support the fairness

opinions provided by Houlihan Lokey. The failure to adequately disclose such material

information constitutes a violation of Sections 14(e), 14(d), and 20(a) of the Exchange Act as

AutoWeb stockholders need such information in order to tender their shares in support of the

Proposed Transaction.




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       4.       It is imperative that the material information that has been omitted from the

Solicitation Statement is disclosed to the Company’s stockholders prior to the expiration of the

tender offer.

       5.       For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to AutoWeb’s stockholders or, in the event the

Proposed Transaction is consummated, to recover damages resulting from the Defendants’

violations of the Exchange Act.

                                  JURISDICTION AND VENUE

       6.       This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Sections 14(e), 14(d), and 20(a) of the Exchange Act and SEC Rule 14a-9.

       7.       Personal jurisdiction exists over each Defendant either because each is an

individual who is either present in this District for jurisdictional purposes or has sufficient

minimum contacts with this District as to render the exercise of jurisdiction over defendant by this

Court permissible under traditional notions of fair play and substantial justice.

       8.       Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because the Company stock is traded on the NASDAQ

Stock Exchange, headquartered in this District.

                                            PARTIES

       9.       Plaintiff is, and has been at all relevant times, the owner of AutoWeb common

stock and has held such stock since prior to the wrongs complained of herein.

       10.      Individual Defendant Michael J. Fuchs has served as a member of the Board since

September 1996 and is the Chairman of the Board.


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       11.      Individual Defendant Matías de Tezanos has served as a member of the Board since

October 2015.

       12.      Individual Defendant Mark N. Kaplan has served as a member of the Board since

June 1998.

       13.      Individual Defendant Jared R. Rowe has served as a member of the Board since

April 2018 and is the Company’s President and Chief Executive Officer.

       14.      Individual Defendant Janet M. Thompson has served as a member of the Board

since March 2008.

       15.      Individual Defendant José Vargas has served as a member of the Board since

October 2015.

       16.      Defendant AutoWeb is a Delaware corporation and maintains its principal offices

at 400 North Ashley Drive, Suite 300, Tampa, Florida 33602. The Company’s stock trades on the

NASDAQ Stock Exchange under the symbol “AUTO.”

       17.      The defendants identified in paragraphs 10-16 are collectively referred to as the

“Individual Defendants” or the “Board.”

       18.      The defendants identified in paragraphs 10-17 are collectively referred to as the

“Defendants.”

                               SUBSTANTIVE ALLEGATIONS

A.     The Proposed Transaction

       19.      AutoWeb operates as a digital marketing company for the automotive industry in

the United States. It assists automotive retail dealers and manufacturers to market and sell new and

used vehicles to consumers through its programs. The Company’s products include new vehicle

lead program, which allows consumers to submit requests for pricing and availability of specific

makes and models; and used vehicle lead program, which allows consumers to search for used


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vehicles according to specific search parameters, such as price, make, model, mileage, year, and

location of the vehicle. Its products and services also comprise WebLeads+ that offers various

coupon options, which display marketing messages to consumers visiting the dealer's website; and

Payment Pro, a dealer website conversion tool that offers consumers real-time online monthly

payment information, as well as sells fixed placement advertising across its Website to automotive

advertisers. It owns and operates automotive websites that offers consumers with the information

and tools to aid them with their automotive purchase decisions; direct marketing platform that

enables manufacturers to selectively target in-market consumers during the often-extended vehicle

shopping process; and click traffic referral program, a pay-per-click advertising program that offer

targeted offers to consumers based on make, model, and geographic location. The Company was

formerly known as Autobytel Inc. and changed its name to AutoWeb, Inc. in October 2017.

AutoWeb was founded in 1995 and is headquartered in Tampa, Florida.

       20.     On July 25, 2022, the Company announced the Proposed Transaction:

               TAMPA, Fla., July 25, 2022 (GLOBE NEWSWIRE) -- AutoWeb,
               Inc. (Nasdaq: AUTO) (“AutoWeb” or the “Company”), an
               automotive matchmaking platform connecting in-market car
               shoppers to their preferred vehicle transactions, announced that it
               has entered into a definitive merger agreement to be acquired by a
               subsidiary (the “Purchaser”) of One Planet Group, LLC (“One
               Planet Group”), under which the Purchaser will pay a cash purchase
               price of $0.39 per share of AutoWeb. Payam Zamani, One Planet
               Group’s CEO, will assume the role of President and CEO of
               AutoWeb, Inc., and Jared Rowe will transition out of the business.

               “Not many founders get the opportunity to return to a company that
               they helped create. AutoWeb has been a pioneer in the online
               automotive industry and in many ways directly influenced its
               evolution,” stated Payam Zamani, CEO of One Planet Group. “It is
               now time for the company to experience an evolution to prepare for
               the challenges and the opportunities in the automotive industry of
               tomorrow.”




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               The acquisition, which has been approved by the Company’s Board
               of Directors, based on the recommendation of a Special Committee
               of the Board consisting of independent, disinterested directors, is
               structured as a two-step merger, with the first step being a tender
               offer for all issued and outstanding shares of AutoWeb by the
               Purchaser and the second step being a merger in which any shares
               of AutoWeb that were not tendered in the tender offer would be
               converted into the right to receive the same cash price per share
               as stockholders who tendered in the tender offer. The factors
               considered by the Special Committee and the Board are further
               described in the Current Report on Form 8-K filed by the Company
               on the date of this release. The parties have agreed to commence the
               tender offer by August 1, 2022.

               The closing of the tender offer and acquisition are subject to
               customary closing conditions and other terms and conditions
               detailed in the merger agreement. The merger is expected to close
               by September 16, 2022.

               The Company is represented in this transaction by its financial
               advisor, Houlihan Lokey, and its legal counsel, Gibson Dunn &
               Crutcher LLP. One Planet Group is represented by its legal counsel,
               Mayer Brown LLP.

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       21.     It is therefore imperative that AutoWeb’s stockholders are provided with the

material information that has been omitted from the Solicitation Statement, so that they can

meaningfully assess whether or not the Proposed Transaction is in their best interests.

B.     The Materially Incomplete and Misleading Solicitation Statement

       22.     On August 3, 2022, AutoWeb filed the Solicitation Statement with the SEC in

connection with the Proposed Transaction. The Solicitation Statement was furnished to the

Company’s stockholders and solicits the stockholders to tender their shares in support of the

Proposed Transaction.     The Individual Defendants were obligated to carefully review the

Solicitation Statement before it was filed with the SEC and disseminated to the Company’s

stockholders to ensure that it did not contain any material misrepresentations or omissions.

However, the Solicitation Statement misrepresents and/or omits material information that is


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necessary for the Company’s stockholders to make an informed decision concerning whether to

tender their shares, in violation of Sections 14(e), 14(d), and 20(a) of the Exchange Act.

       23.     The Solicitation Statement fails to disclose the financial projections by AutoWeb

management and relied upon by Houlihan Lokey in its analyses. The Solicitation Statement

indicates that in connection with the rendering of its fairness opinion, that the Company prepared

certain non-public financial forecasts (the “Company Projections”) and the liquidation analysis

prepared by Company management (“Liquidation Analysis”) and provided them to the Board and

Houlihan Lokey with forming a view about the stand-alone valuation of the Company.

Accordingly, the Solicitation Statement should have, but fails to provide, the projections that

AutoWeb management provided to the Board and Houlihan Lokey. Courts have uniformly stated

that “projections … are probably among the most highly-prized disclosures by investors. Investors

can come up with their own estimates of discount rates or [] market multiples. What they cannot

hope to do is replicate management’s inside view of the company’s prospects.” In re Netsmart

Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203 (Del. Ch. 2007).

       24.     Thus, to cure the Solicitation Statement and the materially misleading nature of the

forecasts under SEC Rule 14a-9 as a result of the omitted information in the Solicitation Statement,

Defendants must provide the Company Projections and the Liquidation Analysis in their entirety

to make the Solicitation Statement not misleading.

Omissions and/or Material Misrepresentations Concerning Houlihan Lokey’s Financial Analysis

       25.     With respect to Houlihan Lokey’s Liquidation Analysis, the Solicitation Statement

fails to disclose: (i) the basis for the assumption that Company’s accounts receivable could be

recovered at a rate ranging from 50% to 90% for its illustrative sensitivity analysis.




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          26.   The Solicitation Statement also fails to explain why Houlihan Lokey decided to not

perform a Discounted Cash Flow Analysis, a comparable public company analysis, and a selected

transactions analysis, including how the Company’s severe liquidity issues impact that decision.

          27.   In sum, the omission of the above-referenced information renders statements in the

Solicitation Statement materially incomplete and misleading in contravention of the Exchange Act.

Absent disclosure of the foregoing material information prior to the expiration of the Tender Offer,

Plaintiff will be unable to make a fully-informed decision regarding whether to tender their shares,

and they are thus threatened with irreparable harm, warranting the injunctive relief sought herein.

                                     CLAIMS FOR RELIEF

                                             COUNT I

                       On Behalf of Plaintiff Against All Defendants for
                        Violations of Section 14(e) of the Exchange Act

          28.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          29.   Section 14(e) of the Exchange Act provides that it is unlawful “for any person to

make any untrue statement of a material fact or omit to state any material fact necessary in order

to make the statements made, in the light of the circumstances under which they are made, not

misleading . . .” 15 U.S.C. § 78n(e).

          30.   Defendants violated Section 14(e) of the Exchange Act by issuing the Solicitation

Statement in which they made untrue statements of material facts or failed to state all material

facts necessary in order to make the statements made, in the light of the circumstances under which

they are made, not misleading, in conjunction with the Tender Offer. Defendants knew or

recklessly disregarded that the Solicitation Statement failed to disclose material facts necessary in




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order to make the statements made, in light of the circumstances under which they were made, not

misleading.

       31.     The Solicitation Statement was prepared, reviewed and/or disseminated by

Defendants. It misrepresented and/or omitted material facts, including material information about

the consideration offered to stockholders via the Tender Offer, the intrinsic value of the Company,

the Company’s financial projections, and the financial advisor’s valuation analyses and resultant

fairness opinion.

       32.     In so doing, Defendants made untrue statements of material fact and omitted

material information necessary to make the statements that were made not misleading in violation

of Section 14(e) of the Exchange Act. By virtue of their positions within the Company and/or roles

in the process and in the preparation of the Solicitation Statement, Defendants were aware of this

information and their obligation to disclose this information in the Solicitation Statement.

       33.     The omissions and misleading statements in the Solicitation Statement are material

in that a reasonable stockholder would consider them important in deciding whether to tender their

shares or seek appraisal. In addition, a reasonable investor would view the information identified

above which has been omitted from the Solicitation Statement as altering the “total mix” of

information made available to stockholders.

       34.     Defendants knowingly, or with deliberate recklessness, omitted the material

information identified above from the Solicitation Statement, causing certain statements therein to

be materially incomplete and therefore misleading. Indeed, while Defendants undoubtedly had

access to and/or reviewed the omitted material information in connection with approving the

Tender Offer, they allowed it to be omitted from the Solicitation Statement, rendering certain

portions of the Solicitation Statement materially incomplete and therefore misleading.




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          35.   The misrepresentations and omissions in the Solicitation Statement are material to

Plaintiff, and Plaintiff will be deprived of his entitlement to make a fully informed decision if such

misrepresentations and omissions are not corrected prior to the expiration of the Tender Offer.

                                            COUNT II
                      Violations of Section 14(d)(4) of the Exchange Act and
                              Rule 14d-9 Promulgated Thereunder
                                     (Against All Defendants)

          36.   Plaintiff repeats and re-alleges each allegation set forth above as if fully set forth

herein.

          37.   Defendants have caused the Solicitation Statement to be issued with the intention

of soliciting stockholder support of the Tender Offer.

          38.   Section 14(d)(4) of the Exchange Act and SEC Rule 14d-9 promulgated thereunder

require full and complete disclosure in connection with tender offers.

          39.   The Solicitation Statement violates Section 14(d)(4) and Rule 14d-9 because it

omits material facts, including those set forth above, which render the Solicitation Statement false

and/or misleading.

          40.   Defendants knowingly, or with deliberate recklessness, omitted the material

information identified above from the Solicitation Statement, causing certain statements therein to

be materially incomplete and therefore misleading. Indeed, while Defendants undoubtedly had

access to and/or reviewed the omitted material information in connection with approving the

Tender Offer, they allowed it to be omitted from the Solicitation Statement, rendering certain

portions of the Solicitation Statement materially incomplete and therefore misleading.

          41.   The misrepresentations and omissions in the Solicitation Statement are material to

Plaintiff and Plaintiff will be deprived of his entitlement to make a fully informed decision if such

misrepresentations and omissions are not corrected prior to the expiration of the Tender Offer.



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                                            COUNT III

 On Behalf of Plaintiff Against the Individual Defendants for Violations of Section 20(a) of
                                      the Exchange Act

          42.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          43.   The Individual Defendants acted as controlling persons of AutoWeb within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

directors of AutoWeb, and participation in and/or awareness of the Company’s operations and/or

intimate knowledge of the incomplete and misleading statements contained in the Solicitation

Statement filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of AutoWeb, including the content and

dissemination of the various statements that Plaintiff contends are materially incomplete and

misleading.

          44.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Solicitation Statement and other statements alleged by Plaintiff to be misleading prior

to and/or shortly after these statements were issued and had the ability to prevent the issuance of

the statements or cause the statements to be corrected.

          45.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of AutoWeb, and, therefore, is presumed to have had the

power to control or influence the particular transactions giving rise to the Exchange Act violations

alleged herein, and exercised the same. The omitted information identified above was reviewed

by the Board prior to voting on the Proposed Transaction. The Solicitation Statement at issue

contains the unanimous recommendation of the Board to approve the Proposed Transaction. The

Individual Defendants were thus directly involved in the making of the Solicitation Statement.



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       46.     In addition, as the Solicitation Statement sets forth at length, and as described

herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

Merger Agreement. The Solicitation Statement purports to describe the various issues and

information that the Individual Defendants reviewed and considered. The Individual Defendants

participated in drafting and/or gave their input on the content of those descriptions.

       47.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       48.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(d) and (e), by their

acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       49.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff demands injunctive relief in his favor and against the Defendants

jointly and severally, as follows:

       A.      Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Proposed Transaction, unless and until Defendants disclose the

material information identified above which has been omitted from the Solicitation Statement;

       A.      Rescinding, to the extent already implemented, the Merger Agreement or any of

the terms thereof, or granting Plaintiff rescissory damages;


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          B.     Directing the Defendants to account to Plaintiff for all damages suffered as a result

of their wrongdoing;

          C.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

          D.     Granting such other and further equitable relief as this Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.

 DATED: August 4, 2022                              MELWANI & CHAN LLP

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